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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

In re:                                           )
                                                 )
         WW Contractors, Inc.,                   )
                                                 )                Case No. 18-12095-BFK
                                                 )                Chapter 11
         Debtor.                                 )
                                                 )

                   NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

TO ALL PARTIES, PLEASE TAKE NOTICE THAT:

         Pursuant to Rules 9007 and 9010(b) of the Federal Rules of Bankruptcy Procedure, Richard A.

DuBose, III and GEBHARDT & SMITH, LLP hereby file this Notice of Appearance and Request for

Service of Papers as counsel for First National Bank of Pennsylvania (with respect to only the commercial

loans that were made to the Debtor or guaranteed by the Debtor), a creditor in the above-captioned case

and, pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure, respectfully request that all

notices given or required to be given in these proceedings and all papers served or required to be served in

these proceedings be served upon the undersigned at the office, postal address, telephone number and

telecopy number listed as follows:

                                 Richard A. DuBose, III, Esq.
                                 GEBHARDT & SMITH LLP
                                 One South Street, Suite 2200
                                 Baltimore, Maryland 21202-3281
                                 Tel:    410-385-5039
                                 Fax: 410-385-5119
                                 Email: rdubo@gebsmith.com


         PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the notices and

papers referred to in the Bankruptcy Rules, but also includes, without limitation, notices of any

application, complaint, demand, hearing, motion, order, pleading or request, formal or informal, whether

transmitted or conveyed by mail, telephone or otherwise.
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       The undersigned additionally request that the Debtor and the Clerk of the Court place the

foregoing names and address on any mailing matrix or list of creditors to be prepared or existing in the

above-referenced case.

                                                               Respectfully submitted,

DATE: June 18, 2017                                            /s/ Richard A. DuBose, III
                                                               Richard A. DuBose, III, Esq.
                                                               Bar #91705
                                                               Gebhardt & Smith LLP
                                                               One South Street, Suite 2200
                                                               Baltimore, Maryland 21202-3281
                                                               Tel:    410-385-5039
                                                               Fax: 410-385-5119
                                                               Email: rdubo@gebsmith.com
                                                               Counsel for First National Bank of
                                                               Pennsylvania

                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on the 18th day of June, 2018, a copy of the foregoing Notice of

Appearance and Request for Service of Papers was mailed via first class mail, postage prepaid, to the

following:

WW Contractors, Inc.
115 West Mulberry Street
Randallstown, Maryland 21201
Attn: Warren Wiggins, President

WW Contractors, Inc.
P.O. Box 597
Randallstown, MD 21133
Attn: Warren Wiggins, President

Jeffrey M. Sirody, Esquire
Jeffrey M. Sirody and Associates P.A.
1777 Reisterstown Road, Suite 360E
Baltimore, Maryland 21208

Office of the U.S. Trustee
Attn: John P. Fitzgerald, III
115 South Union Street, Room 210
Alexandria, VA 22314

                                                               /s/ Richard A. DuBose, III
                                                               Richard A. DuBose, III, Esq.
